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                    FO R TH E W ESTERN DISTR ICT OF W R G INIA
                                R O A NO K E DIW SIO N

U N ITED STA TES OF AM ER ICA             )
                                          ) criminalNo.H'
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                                          )
V.                                        ) INFORM TION
                                          )
 STA C Y SH A R PE BR AN C H              ) Violations:
                                          ) 21U.S.C.j843(a)(3)
                                          )               .

The United StatesA ttorney charges:

                                  C O UN TS O N E-TH R EE
                      (Possession ofamontrolled substancebv forgerv)

       On oraboutthedateslisted below ,in theW estem DistrictofVirginia,thedefendant,

STA CY SH A RPE BRA N CH'
                        ,did know ingly and intentionally acquire and obt in possession of

controlled substances,aslisted below,by m isrepresentations,fraud,forgery,deceptiop and

subterfage:

        Count D ate            Prescdption     Prescription               N llm berof          '
                               N llm ber       '                          Pills
        1       M arch 19,     6168261         Hydrocodone/A cetaminophen 20
                2016
        2       Septem ber     04094130                                     30
        '
        .
        J       02,2016                       zlzr-     m -         t
        3       September      02080853        Hydrocodone/Acetaminof
                                                                    phen 30
                09,2016                       '


       A11inviolationofTitle21,United StatesCode,Section 843(a)(3).


Date: Q-lM-lî                                                       vf.
                                                         TH O G S T.CU LLEN
                                                         U M TED STA TES A TTO R NEY




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